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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:06CR315
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )          TENTATIVE FINDINGS
                                               )
CINDY CHAVEZ,                                  )
                                               )
              Defendant.                       )


       The Court has received the Presentence Investigation Report (“PSR”) and the

government’s objections thereto (Filing No. 113). The Defendant adopted the PSR (Filing

No. 112). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that

these Tentative Findings are issued with the understanding that, pursuant to United States

v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       The government objects to the 2-level downward adjustment in ¶ 25 for minor role.

The Court notes that, according to the Addendum to the PSR, the objection was not initially

submitted to the probation officer as required by ¶ 4 of the Order on Sentencing Schedule.

The objection will be heard at sentencing, and the government bears the burden by a

preponderance of the evidence.

       IT IS ORDERED:

       1.     The government’s objections to the Presentence Investigation Report (Filing

No. 113) will be heard at sentencing;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;
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       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 12th day of March, 2007.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge




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